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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
------------------------------------x
BRAULIO THORNE, ON BEHALF OF HIMSELF :                  ECF CASE
AND ALL OTHER PERSONS SIMILARLY        :
SITUATED​,                             :
                                       :                No.: 1:20-cv- 9995
                Plaintiffs,            :
                                       :
                   v.                  :                CLASS ACTION COMPLAINT
                                       :
CHRISTIANBOOK, LLC,                    :                JURY TRIAL DEMANDED
                                       :
               Defendant.              :
                                       :
------------------------------------x
                            INTRODUCTION

       1.      Plaintiff, BRAULIO THORNE, on behalf of himself and all other persons

similarly situated, asserts the following claims against Defendant, CHRISTIANBOOK,

LLC, as follows.

       2.      Plaintiff is a visually-impaired and legally blind person who requires

screen-reading software to read website content using his computer. Plaintiff uses the

terms “blind” or “visually-impaired” to refer to all people with visual impairments who

meet the legal definition of blindness in that they have a visual acuity with correction of

less than or equal to 20 x 200. Some blind people who meet their definition have limited

vision. Others have no vision.

       3.      In a September 25, 2018 letter to U.S. House of Representative Ted Budd,

U.S. Department of Justice Assistant Attorney General Stephen E. Boyd confirmed that

public accommodations must make the websites they own, operate, or control equally

accessible to individuals with disabilities. Assistant Attorney General Boyd’s letter

provides:
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       The Department [of Justice] first articulated its interpretation that
       the ADA applies to public accommodations’ websites over 20
       years ago. This interpretation is consistent with the ADA’s title III
       requirement that the goods, services, privileges, or activities
       provided by places of public accommodation be equally accessible
       to people with disabilities.​1

       4.      Based on a 2010 U.S. Census Bureau report, approximately 8.1 million

people in the United States are visually-impaired, including 2.0 million who are blind,

and according to the American Foundation for the Blind’s 2015 report, approximately

400,000 visually-impaired persons live in the State of New York.

       5.      Plaintiff brings his civil rights action against CHRISTIANBOOK, LLC,

(“Defendant” or “Christianbook”) for its failure to design, construct, maintain, and

operate its website to be fully accessible to and independently usable by Plaintiff and

other blind or visually-impaired people. Defendant’s denial of full and equal access to its

website, and therefore denial of its products and services offered thereby, is a violation of

Plaintiff’s rights under the Americans with Disabilities Act (“ADA”).

       6.      Because Defendant’s website, ​https://www.christianbook.com/​, (the

“Website” or “Defendant’s website”), is not equally accessible to blind and

visually-impaired consumers, it violates the ADA. Plaintiff seeks a permanent injunction

to cause a change in Defendant’s corporate policies, practices, and procedures so that

Defendant’s website will become and remain accessible to blind and visually-impaired

consumers.


1
 ​See​ Letter from Assistant Attorney General Stephen E. Boyd, U.S. Department of
Justice, to Congressman Ted Budd, U.S. House of Representatives (Sept. 25, 2018)
(available at
https://images.cutimes.com/contrib/content/uploads/documents/413/152136/adaletter.pdf)
(last accessed July 13, 2020).

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        7.       By failing to make its Website available in a manner compatible with

computer screen reader programs, Defendant deprives blind and visually-impaired

individuals the benefits of its online goods, content, and services—all benefits it affords

nondisabled individuals—thereby increasing the sense of isolation and stigma among

those persons that Title III was meant to redress.

        8.       This discrimination is particularly acute during the current COVID-19

global pandemic. According to the Centers for Disease Control and Prevention (“CDC”),

Americans living with disabilities are at higher risk for severe illness from COVID-19

and, therefore, are recommended to shelter in place throughout the duration of the

pandemic.​2 This underscores the importance of access to online retailers, such as

Defendant, for this especially vulnerable population.

        9.       The COVID-19 pandemic is particularly dangerous for disabled

individuals.​3 The overwhelming burden on hospitals is leading to a worry that the

emergency services will ration treatment. Disabled individuals are in fear that their

diminished capacity to communicate will affect their treatment.​4 Public health experts

2
 See​ Centers for Disease Control and Prevention website, Coronavirus Disease 2019 (2019), available at
https://www.cdc.gov/coronavirus/2019-ncov/need-extra-precautions/people-at-higher-risk.html?CDC_AA_
refVal=https%3A%2F%2Fwww.cdc.gov%2Fcoronavirus%2F2019-ncov%2Fspecific-groups%2Fhigh-risk-
complications.html (last accessed July 13, 2020) (“Based on currently available information and clinical
expertise, older adults and people of any age who have serious underlying medical conditions might be at
higher risk for severe illness from COVID-19.”).

3
  ​See​ The New York Times, ‘It’s Hit Our Front Door’: Homes for the Disabled See a Surge of
Covid-19 (2020), available at
https://www.nytimes.com/2020/04/08/nyregion/coronavirus-disabilities-group-homes.html?smid
=fb-nytimes&smtyp=cur (last accessed July 13, 2020) (“As of Monday, 1,100 of the 140,000
developmentally disabled people monitored by the state had tested positive for the virus, state
officials said. One hundred five had died — a rate far higher than in the general population”).
4
   ​See ​The Atlantic, Americans With Disabilities Are Terrified (2020), available at
https://www.theatlantic.com/politics/archive/2020/04/people-disabilities-worry-they-wont-get-tre
atment/609355/ (last accessed July 13, 2020) (explaining that disabled individuals are inherently
more susceptible to the virus, leading to complications in hospital in which the individuals are
unable to effectively communicate with doctors while intubated).
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expect social distancing to extend through 2022, and with uncertainty surrounding

businesses transitioning back to normal operations, the importance of accessible online

services has been heightened. During these unprecedented times, disabled individuals

risk losing their jobs, experiencing difficulty acquiring goods and services like health

care, and not having the information they need to stay safe.​5

                               JURISDICTION AND VENUE

        10.     The Court has subject-matter jurisdiction over this action under 28 U.S.C.

§ 1331 and 42 U.S.C. § 12181, as Plaintiff’s claims arise under Title III of the ADA, 42

U.S.C. § 12181, ​et seq​., and 28 U.S.C. § 1332.

        11.     The Court has supplemental jurisdiction under 28 U.S.C. § 1367 over

Plaintiff’s New York State Human Rights Law, N.Y. Exec. Law Article 15,

(“NYSHRL”) and New York City Human Rights Law, N.Y.C. Admin. Code § 8-101 ​et

seq.,​ (“NYCHRL”) claims.

        12.     Venue is proper in this district under 28 U.S.C. §1391(b)(1) and (2)

because Defendant conducts and continues to conduct a substantial and significant

amount of business in this District, Defendant is subject to personal jurisdiction in this

District, and a substantial portion of the conduct complained of herein occurred in this

District.

        13.     Defendant is subject to personal jurisdiction in this District. Defendant has

been and is committing the acts or omissions alleged herein in the Southern District of

New York that caused injury and violated rights the ADA prescribes to Plaintiff and to


5
 ​See​ Slate, The Inaccessible Internet 2020, available at
https://slate.com/technology/2020/05/disabled-digital-accessibility-pandemic.html (last accessed
July 13, 2020).


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other blind and other visually-impaired consumers. A substantial part of the acts and

omissions giving rise to Plaintiff’s claims occurred in this District: on several separate

occasions, Plaintiff has been denied the full use and enjoyment of the facilities, goods,

and services of Defendant’s Website while attempting to access the website from his

home in New York County. These access barriers that Plaintiff encountered have caused

a denial of Plaintiff’s full and equal access multiple times in the past, and now deter

Plaintiff on a regular basis from visiting Defendant’s Website. This includes, Plaintiff

attempting to obtain information about Defendant’s online retail merchandise.

       14.     Defendant participates in New York’s economic life by clearly performing

business over the Internet. Through its Website, Defendant entered into contracts for the

sale of its products and services with residents of New York. These online sales contracts

involve, and require, Defendant’s knowing and repeated transmission of computer files

over the Internet. ​See Reed v. 1-800-Flowers.com, Inc.​, 327 F. Supp. 3d 539 (E.D.N.Y.

2018) (exercising personal jurisdiction over forum plaintiff’s website accessibility claims

against out-of-forum website operator); ​Andrews v. Blick Art Materials,​ LLC, 286 F.

Supp. 3d 365 (E.D.N.Y. 2017).

       15.     The Court is empowered to issue a declaratory judgment under 28 U.S.C.

§§ 2201 and 2202.

                                     THE PARTIES

       16.     Plaintiff, BRAULIO THORNE​, at all relevant times, is a resident of New

York, New York.

       17.     Plaintiff is a blind, visually-impaired handicapped person and a member of

member of a protected class of individuals under the ADA, under 42 U.S.C. §



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12102(1)-(2), and the regulations implementing the ADA set forth at 28 CFR §§ 36.101

et seq​., the NYSHRL and NYCHRL.

       18.     Defendant, CHRISTIANBOOK, LLC, is and was, at all relevant times

herein, a Delaware Domestic Limited Liability Company with its principal executive

office located at 140 Summit Street, Peabody, MA 01960. Defendant operates the

Christianbook online retail store as well as the Christianbook website and advertises,

markets, and operates in the State of New York and throughout the United States.

       19.     Defendant, CHRISTIANBOOK, LLC, operates the Christianbook online

retail store across the United States. This online retail store constitutes a place of public

accommodation. Defendant’s Website provides consumers with access to an array of

goods including information about purchasing religious items such as bibles, books,

music, toys, holiday items and other products available online for purchase, and to

ascertain information relating to pricing, shipping, ordering merchandise and return and

privacy policies.

       20.     Defendant’s online retail store is a place of public accommodation within

the definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a

service, privilege, or advantage of Defendant’s online retail stores.

                              NATURE OF ACTION

       21.     The Internet has become a significant source of information, a portal, and

a tool for conducting business, doing everyday activities such as shopping, learning,

banking, researching, as well as many other activities for sighted, blind and

visually-impaired persons alike.




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       22.     In today’s tech-savvy world, blind and visually-impaired people have the

ability to access websites using keyboards in conjunction with screen access software that

vocalizes the visual information found on a computer screen or displays the content on a

refreshable Braille display. This technology is known as screen-reading software.

Screen-reading software is currently the only method a blind or visually-impaired person

may independently utilize in order to access the internet. Unless websites are designed to

be read by screen-reading software, blind and visually-impaired persons are unable to

fully access websites, and the information, products, and services contained thereon.

       23.     Blind and visually-impaired users of Windows operating system-enabled

computers and devices have several screen reading software programs available to them.

Some of these programs are available for purchase and other programs are available

without the user having to purchase the program separately. Job Access With Speech,

otherwise known as “JAWS” is currently the most popular, separately purchased and

downloaded screen-reading software program available for a Windows computer.

       24.     For screen-reading software to function, the information on a website must

be capable of being rendered into text. If the website content is not capable of being

rendered into text, the blind or visually-impaired user is unable to access the same

content available to sighted users.

       25.     The international website standards organization, the World Wide Web

Consortium, known throughout the world as W3C, has published version 2.0 of the Web

Content Accessibility Guidelines (“WCAG 2.0”). WCAG 2.0 are well-established

guidelines for making websites accessible to blind and visually-impaired persons. These




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guidelines are universally followed by most large business entities and government

agencies to ensure their websites are accessible.

        26.     Non-compliant websites pose common access barriers to blind and

visually-impaired persons. Common barriers encountered by blind and visually-impaired

persons include, but are not limited to, the following:

                a.      A text equivalent for every non-text element is not provided;

                b.      Title frames with text are not provided for identification and

navigation;

                c.      Equivalent text is not provided when using scripts;

                d.      Forms with the same information and functionality as for sighted

persons are not provided;

                e.      Information about the meaning and structure of content is not

conveyed by more than the visual presentation of content;

                f.      Text cannot be resized without assistive technology up to 200%

without losing content or functionality;

                g.      If the content enforces a time limit, the user is not able to extend,

adjust or disable it;

                h.      Web pages do not have titles that describe the topic or purpose;

                i.      The purpose of each link cannot be determined from the link text

alone or from the link text and its programmatically determined link context;

                j.      One or more keyboard operable user interface lacks a mode of

operation where the keyboard focus indicator is discernible;




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                k.     The default human language of each web page cannot be

programmatically determined;

                l.     When a component receives focus, it may initiate a change in

context;

                m.     Changing the setting of a user interface component may

automatically cause a change of context where the user has not been advised before using

the component;

                n.     Labels or instructions are not provided when content requires user

input, which include captcha prompts that require the user to verify that he or she is not a

robot;

                o.     In content which is implemented by using markup languages,

elements do not have complete start and end tags, elements are not nested according to

their specifications, elements may contain duplicate attributes and/or any IDs are not

unique;

                p.     Inaccessible Portable Document Format (PDFs); and,

                q.     The name and role of all User Interface elements cannot be

programmatically determined; items that can be set by the user cannot be

programmatically set; and/or notification of changes to these items is not available to user

agents, including assistive technology.

                            STATEMENT OF FACTS

                       Defendant’s Barriers on Its Website

          27.   Defendant          offers         the         commercial           website,

https://www.christianbook.com/​, to the public. The website offers features which should



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allow all consumers to access the goods and services offered by the Defendant and which

Defendant ensures delivery of such goods throughout the United States including New

York State. The goods and services offered by Defendant include, but are not limited to,

the following, which allow consumers to: purchase religious items such as bibles, books,

music, toys, holiday items and other products available online for purchase, and to

ascertain information relating to pricing, shipping, ordering merchandise and return and

privacy policies.

       28.     It is, upon information and belief, Defendant’s policy and practice to deny

Plaintiff, along with other blind or visually-impaired users, access to Defendant’s

website, and to therefore specifically deny the goods and services that are offered

thereby. Due to Defendant’s failure and refusal to remove access barriers to its website,

Plaintiff and visually-impaired persons have been and are still being denied equal access

to Defendant’s numerous goods, services and benefits offered to the public through the

Website.

       29.     Plaintiff is a visually-impaired and legally blind person, who cannot use a

computer without the assistance of screen-reading software. Plaintiff is, however, a

proficient JAWS screen-reader user and uses it to access the Internet. Plaintiff has visited

the Website on separate occasions using the JAWS screen-reader.

       30.     During Plaintiff’s visits to the Website, the last occurring in October,

2020, in an attempt to purchase a product from the Defendant, the Plaintiff encountered

multiple access barriers that denied Plaintiff a shopping experience similar to that of a

sighted person and full and equal access to the goods and services offered to the public

and made available to the public; and that denied Plaintiff the full enjoyment of the



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goods, and services of the Website by being unable to purchase religious items such as

bibles, books, music, toys, holiday items and other products available online for

purchase, and to ascertain information relating to pricing, shipping, ordering merchandise

and return and privacy policies.

       31.     While attempting to navigate the Website, Plaintiff encountered multiple

accessibility barriers for blind or visually-impaired persons that include, but are not

limited to, the following:

               a.      Lack of Alternative Text (“alt-text”), or a text equivalent. Alt-text

is an invisible code embedded beneath a graphical image on a website. Web accessibility

requires that alt-text be coded with each picture so that screen-reading software can speak

the alt-text where a sighted user sees pictures, which includes captcha prompts. Alt-text

does not change the visual presentation, but instead a text box shows when the keyboard

moves over the picture. The lack of alt-text on these graphics prevents screen readers

from accurately vocalizing a description of the graphics. As a result, Defendant’s

visually-impaired customers are unable to determine what is on the website, browse, or

make any purchases;

               b.      Empty Links That Contain No Text causing the function or

purpose of the link to not be presented to the user. They can introduce confusion for

keyboard and screen-reader users;

               c.      Redundant Links where adjacent links go to the same URL address

which results in additional navigation and repetition for keyboard and screen-reader

users; and




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               d.      Linked Images Missing Alt-text, which causes problems if an

image within a link contains no text and that image does not provide alt-text. A screen

reader then has no content to present the user as to the function of the link, including

information contained in PDFs.

       32.     Many pages on the Website also contain the same title elements. This

is a problem for the visually-impaired because the screen reader fails to distinguish

one page from another. In order to fix this problem, Defendant must change the title

elements for each page.

       33.     The Website also contained a host of broken links, which is a

hyperlink to a non-existent or empty webpage. For the visually-impaired this is

especially paralyzing due to the inability to navigate or otherwise determine where

one is on the website once a broken link is encountered. For example, upon coming

across a link of interest, Plaintiff was redirected to an error page. However, the

screen-reader failed to communicate that the link was broken. As a result, Plaintiff

could not get back to his original search.

                    Defendant Must Remove Barriers To Its Website

       34.     Due to the        inaccessibility of Defendant’s Website, blind and

visually-impaired customers such as Plaintiff, who need screen-readers, cannot fully and

equally use or enjoy the goods, and services Defendant offers to the public on its

Website. The access barriers Plaintiff encountered have caused a denial of Plaintiff’s full

and equal access in the past, and now deter Plaintiff on a regular basis from accessing the

Website.




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        35.       These access barriers on Defendant’s Website have deterred Plaintiff from

visiting Defendant’s Website and enjoying it equal to sighted individuals because:

Plaintiff was unable to use and enjoy the Website in the same manner as sighted

individuals do, preventing Plaintiff from using the Website to purchase items and to view

the items.

        36.       If the Website was equally accessible to all, Plaintiff could independently

navigate the Website and complete a desired transaction as sighted individuals do.

        37.       Through his attempts to use the Website, Plaintiff has actual knowledge of

the access barriers that make these services inaccessible and independently unusable by

blind and visually-impaired persons.

        38.       Because simple compliance with the WCAG 2.0 Guidelines would

provide Plaintiff and other visually-impaired consumers with equal access to the Website,

Plaintiff alleges that Defendant has engaged in acts of intentional discrimination,

including but not limited to the following policies or practices:

                  a.     Constructing and maintaining a website that is inaccessible to

visually-impaired individuals, including Plaintiff;

                  b.     Failure to construct and maintain a website that is not sufficiently

intuitive so as to be equally accessible to visually-impaired individuals, including

Plaintiff; and,

                  c.     Failing to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind and visually-impaired consumers, such as

Plaintiff, as a member of a protected class.




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               39.       Defendant therefore uses standards, criteria or methods of administration

       that have the effect of discriminating or perpetuating the discrimination of others, as

       alleged herein.

               40.       The ADA expressly contemplates the injunctive relief that Plaintiff seeks

       in this action. In relevant part, the ADA requires:

       In the case of violations of . . . this title, injunctive relief shall include an order to alter
              facilities to make such facilities readily accessible to and usable by individuals
              with disabilities . . . Where appropriate, injunctive relief shall also include
              requiring the . . . modification of a policy . . .

42 U.S.C. § 12188(a)(2).

               41.       Because Defendant’s Website is not and has never been fully accessible,

       and because, upon information and belief, Defendant does not have, and has never had,

       adequate corporate policies that are reasonably calculated to cause its Website to become

       and remain accessible, Plaintiff invokes 42 U.S.C. § 12188(a)(2) and seek a permanent

       injunction requiring Defendant to:

               a) Retain a qualified consultant acceptable to Plaintiff (“Web Accessibility
               Consultant”) who shall assist in improving the accessibility of its Website,
               including all third-party content and plug-ins, so the goods and services on the
               Website may be equally accessed and enjoyed by visually-impaired persons;

               b) Work with the Web Accessibility Consultant to ensure all employees involved
               in Website and content development be given web accessibility training on a
               biennial basis, including onsite training to create accessible content at the design
               and development stages;

               c) Work with the Web Accessibility Consultant to perform an automated
               accessibility audit on a periodic basis to evaluate whether Defendant’s Website
               may be equally accessed and enjoyed by visually-impaired persons on an ongoing
               basis;

               d) Work with the Web Accessibility Consultant to perform end-user
               accessibility/usability testing on at least a quarterly basis with said testing to be
               performed by humans who are blind or have low vision, or who have training and
               experience in the manner in which persons who are blind use a screen reader to

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 navigate, browse, and conduct business on websites, in addition to the testing, if
 applicable, that is performed using semi-automated tools;

 e) Incorporate all of the Web Accessibility Consultant’s recommendations within
 sixty (60) days of receiving the recommendations;

 f) Work with the Web Accessibility Consultant to create a Web Accessibility
 Policy that will be posted on its Website, along with an e-mail address, instant
 messenger, and toll-free phone number to report accessibility-related problems;

 g) Directly link from the footer on each page of its Website, a statement that
 indicates that Defendant is making efforts to maintain and increase the
 accessibility of its Website to ensure that visually-impaired persons have full and
 equal enjoyment of the goods, services, facilities, privileges, advantages, and
 accommodations of the Defendant’s Website;

 h) Accompany the public policy statement with an accessible means of submitting
 accessibility questions and problems, including an accessible form to submit
 feedback or an email address to contact representatives knowledgeable about the
 Web Accessibility Policy;

 i) Provide a notice, prominently and directly linked from the footer on each page
 of its Website, soliciting feedback from visitors to the Website on how the
 accessibility of the Website can be improved. The link shall provide a method to
 provide feedback, including an accessible form to submit feedback or an email
 address to contact representatives knowledgeable about the Web Accessibility
 Policy;

 j) Provide a copy of the Web Accessibility Policy to all web content personnel,
 contractors responsible for web content, and Client Service Operations call center
 agents (“CSO Personnel”) for the Website;

 k) Train no fewer than three of its CSO Personnel to automatically escalate calls
 from users with disabilities who encounter difficulties using the Website.
 Defendant shall have trained no fewer than 3 of its CSO personnel to timely assist
 such users with disabilities within CSO published hours of operation. Defendant
 shall establish procedures for promptly directing requests for assistance to such
 personnel including notifying the public that customer assistance is available to
 users with disabilities and describing the process to obtain that assistance;

 l) Modify existing bug fix policies, practices, and procedures to include the
 elimination of bugs that cause the Website to be inaccessible to users of screen
 reader technology; and

 m) Plaintiff, his counsel, and their experts monitor the Website for up to two years
 after the Mutually Agreed Upon Consultant validates the Website are free of

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       accessibility errors/violations to ensure Defendant has adopted and implemented
       adequate accessibility policies. To this end, Plaintiff, through his counsel and their
       experts, shall be entitled to consult with the Web Accessibility Consultant at their
       discretion, and to review any written material, including but not limited to any
       recommendations the Website Accessibility Consultant provides Defendant.

       42.     Web-based technologies have features and content that are modified on a

daily, and in some instances an hourly, basis, and a one time “fix” to an inaccessible

website will not cause the website to remain accessible without a corresponding change

in corporate policies related to those web-based technologies. To evaluate whether an

inaccessible website has been rendered accessible, and whether corporate policies related

to web-based technologies have been changed in a meaningful manner that will cause the

website to remain accessible, the website must be reviewed on a periodic basis using both

automated accessibility screening tools and end user testing by visually-impaired persons.

       43.     If the Website was accessible, Plaintiff and similarly situated blind and

visually-impaired persons could independently shop for and otherwise research the

Defendant’s products via the Website.

       44.     Although Defendant may currently have centralized policies regarding

maintaining and operating its Website, Defendant lacks a plan and policy reasonably

calculated to make them fully and equally accessible to, and independently usable by,

blind and other visually-impaired consumers.

       45.     Defendant has, upon information and belief, invested substantial sums in

developing and maintaining their Website and has generated significant revenue from the

Website. These amounts are far greater than the associated cost of making their Website

equally accessible to visually-impaired consumers.




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       46.     Without injunctive relief, Plaintiff and other visually-impaired consumers

will continue to be unable to independently use the Website, violating their rights.

                       CLASS ACTION ALLEGATIONS

       47.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a nationwide class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally blind

individuals in the United States who have attempted to access Defendant’s Website and

as a result have been denied access to the equal enjoyment of goods and services offered

by Defendant’s Website, during the relevant statutory period.

       48.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York State Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the State of New York who have attempted to access Defendant’s

Website and as a result have been denied access to the equal enjoyment of goods and

services offered by Defendant’s Website, during the relevant statutory period.

       49.     Plaintiff, on behalf of himself and all others similarly situated, seeks to

certify a New York City Sub-Class under Fed. R. Civ. P. 23(a) and 23(b)(2): all legally

blind individuals in the City of New York who have attempted to access Defendant’s

Website and as a result have been denied access to the equal enjoyment of goods and

services offered by Defendant’s Website, during the relevant statutory period.

       50.     Common questions of law and fact exist amongst the Class and

Sub-Classes, including:

               a.      Whether Defendant’s Website is a “public accommodation” under

the ADA;




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               b.     Whether Defendant’s Website is a “place or provider of public

accommodation” under the NYSHRL or NYCHRL;

               c.     Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to

visually-impaired persons, violating the ADA; and

               d.     Whether Defendant’s Website denies the full and equal enjoyment

of its goods, services, facilities, privileges, advantages, or accommodations to

visually-impaired persons, violating the NYSHRL or NYCHRL.

       51.     Plaintiff’s claims are typical of the Class and Sub-Classes. The Class, and

Sub-Classes, similarly to the Plaintiff, are severely visually-impaired or otherwise blind

persons, and claim that Defendant has violated the ADA, NYSHRL or NYCHRL by

failing to update or remove access barriers on its Website so it can be independently

accessible to the Class and/or the Sub-Classes.

       52.     Plaintiff will fairly and adequately represent and protect the interests of

the Class Members because Plaintiff has retained and is represented by counsel

competent and experienced in complex class action litigation, including ADA litigation

and because Plaintiff has no interests antagonistic to the Class Members. Class

certification of the claims is appropriate under Fed. R. Civ. P. 23(b)(2) because

Defendant has acted or refused to act on grounds generally applicable to the Class,

making appropriate both declaratory and injunctive relief with respect to Plaintiff and the

Class as a whole.

       53.     Alternatively, class certification is appropriate under Fed. R. Civ. P.

23(b)(3) because fact and legal questions are common to Class Members predominate



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       over questions affecting only individual Class Members, and because a class action is

       superior to other available methods for the fair and efficient adjudication of their

       litigation.

               54.      Judicial economy will be served by maintaining this lawsuit as a class

       action in that it is likely to avoid the burden that would be otherwise placed upon the

       judicial system by the filing of numerous similar suits by visually-impaired persons

       throughout the United States.

                              FIRST CAUSE OF ACTION
                     VIOLATIONS OF THE ADA, 42 U.S.C. § 12181 ​et seq.

               55.       Plaintiff, on behalf of himself and the Class Members, repeats and

       realleges every allegation of the preceding paragraphs as if fully set forth herein.

               56.      Section 302(a) of Title III of the ADA, 42 U.S.C. § 12101 et seq.,

       provides:

       No individual shall be discriminated against on the basis of disability in the full and equal
              enjoyment of the goods, services, facilities, privileges, advantages, or
              accommodations of any place of public accommodation by any person who owns,
              leases (or leases to), or operates a place of public accommodation.

42 U.S.C. § 12182(a).


               57.      Defendant’s online retail store is a place of public accommodation within

       the definition of Title III of the ADA, 42 U.S.C. § 12181(7). Defendant’s Website is a

       service, privilege, or advantage of Defendant’s online retail store

               58.      Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities the opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodations of

       an entity. 42 U.S.C. § 12182(b)(1)(A)(i).

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               59.     Under Section 302(b)(1) of Title III of the ADA, it is unlawful

       discrimination to deny individuals with disabilities an opportunity to participate in or

       benefit from the goods, services, facilities, privileges, advantages, or accommodation,

       which is equal to the opportunities afforded to other individuals. 42 U.S.C. §

       12182(b)(1)(A)(ii).

               60.     Under Section 302(b)(2) of Title III of the ADA, unlawful discrimination

       also includes, among other things:

       [A] failure to make reasonable modifications in policies, practices, or procedures, when
               such modifications are necessary to afford such goods, services, facilities,
               privileges, advantages, or accommodations to individuals with disabilities, unless
               the entity can demonstrate that making such modifications would fundamentally
               alter the nature of such goods, services, facilities, privileges, advantages or
               accommodations; and a failure to take such steps as may be necessary to ensure
               that no individual with a disability is excluded, denied services, segregated or
               otherwise treated differently than other individuals because of the absence of
               auxiliary aids and services, unless the entity can demonstrate that taking such
               steps would fundamentally alter the nature of the good, service, facility, privilege,
               advantage, or accommodation being offered or would result in an undue burden.

42 U.S.C. § 12182(b)(2)(A)(ii)-(iii).

               61.     The acts alleged herein constitute violations of Title III of the ADA, and

       the regulations promulgated thereunder. Plaintiff, who is a member of a protected class of

       persons under the ADA, has a physical disability that substantially limits the major life

       activity of sight within the meaning of 42 U.S.C. §§ 12102(1)(A)-(2)(A). Furthermore,

       Plaintiff has been denied full and equal access to the Website, has not been provided

       services that are provided to other patrons who are not disabled, and has been provided

       services that are inferior to the services provided to non-disabled persons. Defendant has

       failed to take any prompt and equitable steps to remedy its discriminatory conduct. These

       violations are ongoing.



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        62.     Under 42 U.S.C. § 12188 and the remedies, procedures, and rights set

forth and incorporated therein, Plaintiff, requests relief as set forth below.

                         SECOND CAUSE OF ACTION
                        VIOLATIONS OF THE NYSHRL

        63.     Plaintiff, on behalf of himself and the New York State Sub-Class

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        64.     N.Y. Exec. Law § 296(2)(a) provides that it is “an unlawful discriminatory

practice for any person, being the owner, lessee, proprietor, manager, superintendent,

agent or employee of any place of public accommodation . . . because of the . . . disability

of any person, directly or indirectly, to refuse, withhold from or deny to such person any

of the accommodations, advantages, facilities or privileges thereof.”

        65.     Defendant’s Website operates in the State of New York and constitutes an

online sales establishment and a place of public accommodation within the definition of

N.Y. Exec. Law § 292(9). Defendant’s Website is a service, privilege or advantage of

Defendant’s online retail establishment.

        66.     Defendant is subject to New York Human Rights Law because it owns

and/or operates its Website in the State of New York. Defendant is a person within the

meaning of N.Y. Exec. Law § 292(1).

        67.     Defendant is violating N.Y. Exec. Law § 296(2)(a) in refusing to update or

remove access barriers to its Website, causing its Website and the services integrated

therewith to be completely inaccessible to the blind. Their inaccessibility denies blind

patrons full and equal access to the facilities, goods and services that Defendant makes

available to the non-disabled public.

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       68.     Under N.Y. Exec. Law § 296(2)(c)(i), unlawful discriminatory practice

includes, among other things, “a refusal to make reasonable modifications in policies,

practices, or procedures, when such modifications are necessary to afford facilities,

privileges, advantages or accommodations to individuals with disabilities, unless such

person can demonstrate that making such modifications would fundamentally alter the

nature of such facilities, privileges, advantages or accommodations being offered or

would result in an undue burden".

       69.     Under N.Y. Exec. Law § 296(2)(c)(ii), unlawful discriminatory practice

also includes, “a refusal to take such steps as may be necessary to ensure that no

individual with a disability is excluded or denied services because of the absence of

auxiliary aids and services, unless such person can demonstrate that taking such steps

would fundamentally alter the nature of the facility, privilege, advantage or

accommodation being offered or would result in an undue burden.”

       70.     Readily available, well-established guidelines exist on the Internet for

making websites accessible to the blind and visually-impaired. These guidelines have

been followed by other large business entities and government agencies in making their

website accessible, including but not limited to: adding alt-text to graphics and ensuring

that all functions can be performed using a keyboard. Incorporating the basic components

to make its Website accessible would neither fundamentally alter the nature of

Defendant’s business nor result in an undue burden to Defendant.

       71.     Defendant’s actions constitute willful intentional discrimination against

the class on the basis of a disability in violation of the NYSHRL, N.Y. Exec. Law §

296(2) in that Defendant has:



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               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently

intuitive and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       72.     Defendant has failed to take any prompt and equitable steps to remedy

their discriminatory conduct. These violations are ongoing.

       73.     Defendant discriminates, and will continue in the future to discriminate,

against Plaintiff and New York State Sub-Class Members on the basis of disability in the

full and equal enjoyment of the goods, services, facilities, privileges, advantages,

accommodations and/or opportunities of Defendant’s Website under § 296(2) ​et seq.

and/or its implementing regulations. Unless the Court enjoins Defendant from continuing

to engage in these unlawful practices, Plaintiff and the Sub-Class Members will continue

to suffer irreparable harm.

       74.     Defendant’s actions were and are in violation of New York State Human

Rights Law and therefore Plaintiff invokes his right to injunctive relief to remedy the

discrimination.

       75.     Plaintiff is also entitled to compensatory damages, as well as civil

penalties and fines under N.Y. Exec. Law § 297(4)(c) ​et seq.​ for each and every offense.

       76.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

       77.     Under N.Y. Exec. Law § 297 and the remedies, procedures and rights set

forth and incorporated therein Plaintiff prays for judgment as set forth below.



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                          THIRD CAUSE OF ACTION
                        VIOLATIONS OF THE NYCHRL

        78.     Plaintiff, on behalf of himself and the New York City Sub-Class

Members, repeats and realleges every allegation of the preceding paragraphs as if fully

set forth herein.

        79.     N.Y.C. Administrative Code § 8-107(4)(a) provides that “It shall be an

unlawful discriminatory practice for any person, being the owner, lessee, proprietor,

manager, superintendent, agent or employee of any place or provider of public

accommodation, because of . . . disability . . . directly or indirectly, to refuse, withhold

from or deny to such person, any of the accommodations, advantages, facilities or

privileges thereof.”

        80.     Defendant’s website is an online sales establishment and a place of public

accommodation within the definition of N.Y.C. Admin. Code § 8-102(9), and its Website

is a service that is integrated with its online sales establishment.

        81.     Defendant is subject to NYCHRL because it owns and/or operates its

Website in the City of New York, making it a person within the meaning of N.Y.C.

Admin. Code § 8-102(1).

        82.     Defendant is violating N.Y.C. Administrative Code § 8-107(4)(a) in

refusing to update or remove access barriers to Website, causing its Website and the

services integrated therewith to be completely inaccessible to the blind. The

inaccessibility denies blind consumers full and equal access to the facilities, goods, and

services that Defendant makes available to the non-disabled public.

        83.     Defendant is required to “make reasonable accommodation to the needs of

persons with disabilities . . . any person prohibited by the provisions of [§ 8-107 ​et seq.​]

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from discriminating on the basis of disability shall make reasonable accommodation to

enable a person with a disability to . . . enjoy the right or rights in question provided that

the disability is known or should have been known by the covered entity.” N.Y.C.

Admin. Code § 8-107(15)(a).

       84.     Defendant’s actions constitute willful intentional discrimination against

the Sub-Class on the basis of a disability in violation of the N.Y.C. Administrative Code

§ 8-107(4)(a) and § 8-107(15)(a) in that Defendant has:

               a.      constructed and maintained a website that is inaccessible to blind

class members with knowledge of the discrimination; and/or

               b.      constructed and maintained a website that is not sufficiently

intuitive and/or obvious that it is inaccessible to blind class members; and/or

               c.      failed to take actions to correct these access barriers in the face of

substantial harm and discrimination to blind class members.

       85.     Defendant has failed to take any prompt and equitable steps to remedy

their discriminatory conduct. These violations are ongoing.

       86.     As such, Defendant discriminates, and will continue in the future to

discriminate, against Plaintiff and members of the proposed class and Sub-Class on the

basis of disability in the full and equal enjoyment of the goods, services, facilities,

privileges, advantages, accommodations and/or opportunities of its Website under §

8-107(4)(a) and/or its implementing regulations. Unless the Court enjoins Defendant

from continuing to engage in these unlawful practices, Plaintiff and members of the

Sub-Class will continue to suffer irreparable harm.




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        87.     Defendant’s actions were and are in violation of the NYCHRL and

therefore Plaintiff invokes his right to injunctive relief to remedy the discrimination.

        88.     Plaintiff is also entitled to compensatory damages, as well as civil

penalties and fines under N.Y.C. Administrative Code § 8-120(8) and § 8-126(a) for each

offense as well as punitive damages pursuant to § 8-502.

        89.     Plaintiff is also entitled to reasonable attorneys’ fees and costs.

        90.     Under N.Y.C. Administrative Code § 8-120 and § 8-126 and the remedies,

procedures and rights set forth and incorporated therein Plaintiff prays for judgment as

set forth below.

                           FOURTH CAUSE OF ACTION
                             DECLARATORY RELIEF

        91.     Plaintiff, on behalf of himself and the Class and New York State and City

Sub-Classes Members, repeats and realleges every allegation of the preceding paragraphs

as if fully set forth herein.

        92.     An actual controversy has arisen and now exists between the parties in that

Plaintiff contends, and is informed and believes that Defendant denies, that its Website

contains access barriers denying blind customers the full and equal access to the goods

and services of its Website, which Defendant owns, operates and controls, fails to comply

with applicable laws including, but not limited to, Title III of the Americans with

Disabilities Act, 42 U.S.C. §§ 12182, ​et seq.,​ N.Y. Exec. Law § 296, ​et seq.​, and N.Y.C.

Admin. Code § 8-107, ​et seq.​ prohibiting discrimination against the blind.

        93.     A judicial declaration is necessary and appropriate at this time in order

that each of the parties may know their respective rights and duties and act accordingly.

                                  PRAYER FOR RELIEF

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       WHEREFORE, Plaintiff respectfully requests the Court grant the following relief:

               a.      A preliminary and permanent injunction to prohibit Defendant

from violating the Americans with Disabilities Act, 42 U.S.C. §§ 12182, ​et seq., N.Y.

Exec. Law § 296, ​et seq., N.Y.C. Administrative Code § 8-107, ​et seq​., and the laws of

New York;

               b.      A preliminary and permanent injunction requiring Defendant to

take all the steps necessary to make its Website into full compliance with the

requirements set forth in the ADA, and its implementing regulations, so that the Website

is readily accessible to and usable by blind individuals;

               c.      A declaration that Defendant owns, maintains and/or operates its

Website in a manner that discriminates against the blind and which fails to provide access

for persons with disabilities as required by Americans with Disabilities Act, 42 U.S.C. §§

12182, ​et seq., N.Y. Exec. Law § 296, ​et seq​., N.Y.C. Administrative Code § 8-107, ​et

seq​., and the laws of New York

               d.      An order certifying the Class and Sub-Classes under Fed. R. Civ.

P. 23(a) & (b)(2) and/or (b)(3), appointing Plaintiff as Class Representative, and his

attorneys as Class Counsel;

               e.      Compensatory damages in an amount to be determined by proof,

including all applicable statutory and punitive damages and fines, to Plaintiff and the

proposed class and Sub-Classes for violations of their civil rights under New York State

Human Rights Law and City Law;

               f.      Pre- and post-judgment interest;

               g.      An award of costs and expenses of the action; and



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                h.      Reasonable attorneys’ fees, pursuant to 42 U.S.C. § 12205 and 28

CFR § 36.505, including costs of monitoring Defendant’s compliance with the judgment

(​see    Gniewkowski    v.   Lettuce    Entertain   You    Enterprises,    Inc.​ ,   Case   No.

2:16-cv-01898-AJS (W.D. Pa. Jan. 11, 2018) (ECF 191) (“Plaintiffs, as the prevailing

party, may file a fee petition before the Court surrenders jurisdiction. ​See also,

Pennsylvania v. Delaware Valley Citizens’ Council for Clean Air,​ 478 U.S. 546, 559

(1986), supplemented, 483 U.S. 711 (1987); ​see also Access Now, Inc. v. Lax World,

LLC,​ No. 1:17-cv-10976-DJC (D. Mass. Apr. 17, 2018) (ECF 11); and

                i.      Such other and further relief as this Court deems just and proper.

                             DEMAND FOR TRIAL BY JURY

         Pursuant to Fed. R. Civ. P. 38(b), Plaintiff demands a trial by jury on all questions

of fact the Complaint raises.

Dated: New York, New York
       November 27, 2020
                                                            GOTTLIEB & ASSOCIATES

                                                                /s/Michael A. LaBollita, Esq.

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